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                                          STATE OF NEW YORK
                                    OFFICE OF THE ATTORNEY GENERAL

 LETITIA JAMES                                                                            DIVISION OF STATE COUNSEL
ATTORNEY GENERAL                                                                                   LITIGATION BUREAU
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                                                          October 16, 2020


    BY ECF                                            MEMORANDUM ENDORSEMENT
    Honorable Gabriel W. Gorenstein
    United States Magistrate Judge
    Southern District of New York
    500 Pearl Street
    New York, New York 10007

            Re:    Ali v. Ramos, et al., 16-cv-01994 (ALC)(GWG)

    Dear Magistrate Gorenstein:

           This Office represents Court Officers Eleazar Ramos and Bruce Knowles in the above-
    referenced action. After consultation with counsel for Plaintiff Eric Ali, the parties jointly request
    an adjournment of the settlement conference, scheduled for November 2, 2020. See ECF 126.

            Pursuant to Paragraph 8 of the Court’s Standing Order Applicable to Telephonic
    Conferences (“Standing Order”), the parties believe that an adjournment until mid-December or
    early January 2021 will lead to the exchange of information that would make the settlement
    conference more “fruitful.” The parties briefly entertained settlement in October 2019 but did not
    discuss specific terms. The parties then focused on the briefing for Defendants’ motion for
    summary judgment.

           Plaintiff’s counsel submitted a demand today, but Defendants and this Office will require
    some time to evaluate the demand and comply the Court’s scheduled deadlines in the Standing
    Order, especially considering the Decision and Order, dated September 30, 2020. ECF 123. This
    Office will also need to coordinate Defendants’ employer, the Unified Court System and its
    Office of Court Administration, to comply with Paragraph 6 of the Standing Order. Finally, the
    Thanksgiving and December holidays will limit the availability of certain decision-makers on
    Defendants’ side. Plaintiff’s counsel is also not available from December 22, 2020 to January 6,
    2021.

            Should the Court grant this adjournment request, the parties will call Chambers to
    ascertain the Court’s availability.




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      Thank you for your consideration in this matter.

                                                 Respectfully submitted,

                                                 s/ Elizabeth A. Figueira

                                                 Assistant Attorney General


cc:   Adrian A. Ellis (via ECF)

  Conference adjourned to December 14, 2020, at 2:30 p.m. Submissions are due December 8,
  2020.

  So Ordered.



  October 16, 2020




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